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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                      )            CASE NO. 1:09cr00278-002
                                               )
       Plaintiff,                              )            JUDGE JAMES S. GWIN
                                               )
vs.                                            )            ORDER
                                               )
EVA ARLINE JONES,                              )
                                               )
       Defendant.                              )



       This matter was heard on January 25, 2013, upon the request of the United States Pretrial

and Probation Office for a finding that defendant violated the conditions of her supervised

releases. The defendant was present and represented by Attorney Jacqueline Johnson.

       The original violation report was referred to Magistrate Judge William H. Baughman, Jr.,

to conduct appropriate proceedings, except sentencing, in accordance with Criminal Rule 32.1

and for the issuance of a Report and Recommendation. The Report and Recommendation was

issued on January 7, 2013 [Doc. 158]. No objections to the Report and Recommendation were

filed by plaintiff or defendant.

       The Court adopted the Magistrate Judge’s Report and Recommendation and consistent

with same found that the following violations occurred:

               1) new criminal conviction;

               2) criminal association;

               3) failure to report address;
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               4) failure in drug/alcohol aftercare;

               5) failure in mental health aftercare.

The Court found the violations to be Grade C and defendant’s Criminal History Category to be

IV. The Court also considered the Sec. 3553(a) factors.

        Defendant was committed to the Bureau of Prisons for a period of eight months with

credit for time served in federal custody on the violations. Upon release from incarceration

defendant’s period of supervised release shall terminate.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.



Dated: January 25, 2013                                 s/ James S. Gwin
                                                        JAMES S. GWIN
                                                        UNITED STATES DISTRICT JUDGE
